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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


   Civil Action No: 16-cv-00629 WJM-STV

   THE ESTATE OF JOHN PATRICK WALTER,
   by and through its personal representative, DESIREE’ Y. KLODNICKI,

         Plaintiff,
   v.

   THE BOARD OF COUNTY COMMISSIONERS OF THE COUNTY OF FREMONT;
   ALLEN COOPER, in his official capacity as Fremont County Sheriff; and
   JAMES BEICKER, individually.

         Defendants.
   ______________________________________________________________________________

                         STIPULATED STATEMENT OF THE CASE

   _____________________________________________________________________________

         The parties submit this stipulated statement of the case.




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                               PROPOSED STATEMENT OF THE CASE1

          This is a civil case. This case arises from the death of a man named John Patrick Walter.

   Mr. Walter died in a jail in Fremont County Colorado. Mr. Walter was arrested and taken to the

   Fremont County Jail on April 3, 2014. He died in the jail 17 days later, on April 20, 2014. Mr.

   Walter’s estate is suing Fremont County and its Sheriff at the time, James Beicker. Mr. Walter’s

   estate claims that Mr. Walter’s constitutional right to adequate medical care was violated while

   he was in jail. Fremont County and former Sheriff Beicker deny that they violated Mr. Walter’s

   constitutional right to adequate medical care.




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          Limited to one paragraph in length. See WJM Revised Practice Standards VI.B.

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   Dated this 29th day of August, 2019.

                                          Respectfully submitted,

                                          BUDGE & HEIPT, P.L.L.C.


                                            /s/ Edwin S. Budge
                                          Edwin S. Budge
                                          Erik J. Heipt
                                          Budge & Heipt, PLLC
                                          705 Second Ave., Suite 910
                                          Seattle, WA 98104
                                          ed@budgeandheipt.com
                                          erik@budgeandheipt.com
                                          Attorneys for Plaintiff


                                            /s/ William T. O’Connell, III
                                          William T. O’Connell, III
                                          Katherine M.L. Pratt
                                          Wells, Anderson & Race, LLC
                                          1700 Broadway, Suite 1020
                                          Denver, CO 80290
                                          woconnell@warllc.com
                                          kpratt@warllc.com
                                          Attorneys for Defendants




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                                  CERTIFICATE OF SERVICE


          The undersigned certifies that on the date stated below this document was sent to the

   defense attorneys listed below at the stated e-mail addresses:

   William T. O’Connell, III
   Katherine M.L. Pratt
   Wells, Anderson & Race, LLC
   1700 Broadway, Suite 1020
   Denver, CO 80290
   woconnell@warllc.com
   kpratt@warllc.com




         Dated this 29th day of August, 2019.


                                                          /s/ Edwin S. Budge
                                                        Edwin S. Budge




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